    Case: 1:18-cv-02082 Document #: 41 Filed: 03/04/19 Page 1 of 3 PageID #:862




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF
                              ILLINOIS EASTERN DIVISION

BREANN KANIEWSKI,                             )
                                              )       Case No. 18-cv-02082
                               Plaintiff,     )
                                              )
       v.                                     )
                                              )
ROUNDY’S ILLINOIS, LLC,                       )
                                              )
                               Defendant.     )

     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
               STRIKE PLAINTIFF’S RULE 56.1(b)(3) RESPONSES

       Plaintiff, BreAnn Kaniewski (“Plaintiff”), by and through her undersigned counsel, hereby

responds in opposition to Defendant Roundy’s Illinois, LLC’s (“Defendant”) Motion to Strike

Plaintiff’s Rule 56.1(b)(3) Responses and accompanying Memorandum (collectively as

“Motion”), and states as follows:

       1.       Defendant’s Motion is noticed for presentment before this Court on March 11, 2019

at 9:00 a.m.

       2.       Plaintiff will be fully prepared to address all of Defendant’s arguments at that time

if necessary.

       3.       However, in the interim, Plaintiff files this Response in order to address

Defendant’s apparent allegation of misconduct contained in the introduction to its Motion, which

is not elaborated upon in the body of its Motion.

       4.       Specifically, Defendant states: “Plaintiff has omitted and/or altered evidentiary

materials set forth in paragraphs 4, 5, 12, 18, 20, 31-32, 42 and 57 of Mariano’s [Separate

Statement of Undisputed Facts].”
    Case: 1:18-cv-02082 Document #: 41 Filed: 03/04/19 Page 2 of 3 PageID #:862




       5.      Upon review, Plaintiff intentionally omitted images or graphs inserted by

Defendant in paragraphs 4, 18, 20, 31-32, 42 and 57 of its Separate Statement of Undisputed

Facts. This was done because Plaintiff was unable to accurately copy the image or graph from

the PDF format filing available to her counsel. In the identified paragraphs, Plaintiff included a

notation each and every time, stating: “[image omitted].”

       6.      In paragraphs 5 and 12, Plaintiff copied the image or graph inserted by Defendant

as accurately as possible from the PDF format filing available to her counsel.

       7.      Plaintiff strongly denies that these instances of inexact reproduction of Defendant’s

Separate Statement of Undisputed Facts constitutes omission and/or altered evidentiary materials

in violation of Local Rule 56.1(b)(3)(A).       Defendant’s Motion to Strike on this basis is

unwarranted.

       WHEREFORE, Plaintiff respectfully requests that Defendant’s Motion to Strike

Plaintiff’s Improper Local Rule 56.1(b)(3) Responses be denied.



DATED:         March 4, 2019                                 Respectfully submitted,

                                                             By:     /s/ Madelaine M. Thomas



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                                                 2
    Case: 1:18-cv-02082 Document #: 41 Filed: 03/04/19 Page 3 of 3 PageID #:862




                               CERTIFICATE OF SERVICE

       I, Madelaine M. Thomas, an attorney, hereby certify that I caused the foregoing Plaintiff’s

Response in Opposition to Defendant’s Motion to Strike Plaintiff’s Rule 56.1(b)(3) Responses to

be served upon all counsel of record by way of the ECF system on March 4, 2019.


DATED:        March 4, 2019                                 Respectfully submitted,

                                                            By:    /s/ Madelaine M. Thomas




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